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            EXHIBIT 19
                               TRANSCRIPT
            Case 4:24-cv-04722-YGR        OF E46-20
                                    Document          FROM
                                               XCERPTFiled 11/29/24           Page 2 of 4
         20VC WITH HARRY STEBBINGS (@20VC), EPISODE 1163, REID HOFFMAN:
     THE FUTURE OF TIKTOK AND THE INFLECTION AI DEAL, YOUTUBE (JUNE 10, 2024)
                     https://youtu.be/edYGzszdcUo?si=hCEo67ZViAby8OSP


 1         HARRY STEBBINS:            I’m just going for this. Every time I look at     00:21:44
 2 Nvidia and I’m like, “Nah, can’t go higher, can’t go higher”; And then, like         00:21:46
 3 you know, another quarter comes, I’m like “f--k, it went higher.”                    00:21:51
 4            Like is that a good buy?                                                  00:21:56
 5         REID HOFFMAN:              Um, look, I think Nvidia is a great company       00:21:57
 6 and Jensen’s a great CEO.                                                            00:22:00
 7            I don’t actually myself trade in the public market that much.             00:22:01
 8 I’m a private market investor, so, I don’t actually really make those                00:22:04
 9 operative decisions, right?                                                          00:22:08
10            So, it might be. I mean, I think they -- I think they have --             00:22:10
11 I think their chips are, are extremely valuable in this scale-AI, you know,          00:22:14
12 transformation that is happening. And without all of the Nvidia inventions           00:22:23
13 and chips, we wouldn't be nearly as far along as we are.                             00:22:28
14            Now, the real question is “buy at this price”? I don’t know.              00:22:31
15 That, that’s the prize question.                                                     00:22:34
16         HARRY STEBBINS:            That is the real question, yeah.                  00:22:35
17 Yeah, uh, that’s the challenging one.                                                00:22:37
18            We -- We spoke about kind of the different providers.                     00:22:38
19            I -- I have to ask you. I had so many people suggest questions            00:22:40
20 and this is one I really wanted to talk about, which was the Inflection deal         00:22:43
21 with Microsoft.                                                                      00:22:45
22            How did that go down?                                                     00:22:47
23         REID HOFFMAN:              Yup.                                              00:22:48
24         HARRY STEBBINS:            I love a story as well.                           00:22:49
25         REID HOFFMAN:              Yeah. [Laughs]                                    00:22:50


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 1        HARRY STEBBINS:            Like, does -- Does like Satya call you and         00:22:50
 2 go like, “Yeah, let's take this one”?                                                00:22:51
 3        REID HOFFMAN:              So, um, Satya and Micro-- and, and um uh           00:22:53
 4 and, Mustafa, um, had a conversation.                                                00:22:58
 5            And, it was kind of funny because both of them called me                  00:23:01
 6 afterwards and said:                                                                 00:23:03
 7                         “I had this really fascinating conversation about --         00:23:04
 8                     you know, about, you know -- what is of work we                  00:23:06
 9                     could do together.                                               00:23:07
10                         Do you think we should possibly do th--                      00:23:09
11                     think about this?”                                               00:23:10
12            And, so I had separate conversations with both of them, because           00:23:11
13 obviously I’m on both boards. And then they said:                                    00:23:13
14                         “Well should the next conversation be the three of us?”      00:23:15
15            And I was like:                                                           00:23:17
16                          “No -- I think I have to keep my ‘hat’ separate,            00:23:18
17                     Because I have to -- have to talk to Mustafa from a              00:23:21
18                     ‘Greylock hat’ from a ‘Inflection board hat’; I have to          00:23:25
19                     talk to Satya from a ‘Microsoft public board member hat’;        00:23:28
20                          And, I have to make sure that I’m -- I’m playing each       00:23:31
21                     role effectively. And, if I’m in the room -- it’s like, you      00:23:34
22                     know -- you can almost bring two baseball caps and go            00:23:37
23                     ‘okay,’ ‘okay,’ ‘okay.’ And it’s like this doesn’t quite         00:23:39
24                     work that way. So, its better to do that.                        00:23:43
25            And so, they, um, in a set of conversations kind of got to the position   00:23:45


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 1 of saying:                                                                           00:23:49
 2                         “Well, Mustafa had already been worried that the --          00:23:50
 3                      that the notion of the massive increase of scale of frontier    00:23:53
 4                      models was going to be beyond startup companies’ ability        00:23:58
 5                      to monetize with, um, an agent infrastructure. It’s going to    00:24:02
 6                      take a long time for agent infrastructure to monetize.”         00:24:06
 7            He’s like:                                                                00:24:09
 8                         “Look, we have this really great product; We have this       00:24:10
 9                      really great agent. But, if we’re going to keep pace with       00:24:12
10                      that, we’re going to be massively in the red for a long time.   00:24:15
11                      And yet, that’s what we really want: We want to make sure       00:24:20
12                      this great agent that really helps everyone is, is going to     00:24:22
13                      continue and grow and thrive.”                                  00:24:26
14            And that was part of the “Okay, well maybe we could do that at            00:24:28
15 Microsoft.” While at Inflection, part of it was we’d been thinking of like, “Well, 00:24:30
16 maybe the real business is around AI Studio”: That you have a number of              00:24:34
17 different models, some of which are custom trained like Inflection, others of        00:24:38
18 which are public -- you know -- open source models. And you’re kind of being a 00:24:42
19 B2B -- you know -- AI Studio model. Because that’s what we had been thinking 00:24:45
20 about doing with Inflection anyway given the economics of the business.              00:24:50
21            So, I was like:                                                           00:24:53
22                         “Well, that business could then be funded by this            00:24:54
23                      transaction: The people who want to build agents can            00:24:56
24                      contin-- can go do it at Microsoft, and the people who want     00:24:59
25                      to do B2B Studio can stay with the company.”                    00:25:01


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